                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             SOUTHERN DIVISION
                               No. 7:23-CV-897


INRE:                         )
                              )
CAMP LEJEUNE WATER LITIGATION )                       ORDER GRANTING MOTION FOR
                              )                      AN EXTENTION OF TIME TO RESPOND
This Document Relates to:     )                      TO THE MAGISTRATE JUDGE'S ORDER
ALL CASES                     )                           OF SEPTEMBER 3, 2024
                              )



        This matter is before the Court on the United States' motion to extend the time for

responding to the Magistrate Judge's Order of September 3, 2024. [D.E. 281] The United

States ' motion states that the Plaintiffs' Leadership Group and the Special Masters have been

made aware of the motion and have not objected.

        There being good cause shown, the court ORDERS that the deadline to respond to the

Magistrate Judge's Order of September 3, 2024 is extended one week to September 17, 2024.



SO ORDERED this      _5_ day of September, 2024. ~

                                                     J   SE. GATES
                                                     UNITED STATES MAGISTRATE JUDGE




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